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           UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                             25-1555
                                         No. __________________
                                    We Inform LLC, et al.
Atlas Data Privacy Corp. et al. vs. ______________________________
________________________________


              7/8/2025
Calendar Date _______________                                Philadelphia, PA
                                                    Location _____________________


         ACKNOWLEDGMENT AND DESIGNATION OF ARGUING COUNSEL


                         David Boies
Receipt acknowledged by: __________________________________________
                                David Boies
Designation of Arguing Counsel: ____________________________________

Member of the Bar:              ✔
                             ________ Yes                  ________ No

Representing (check only one):

________ Petitioner(s)            ________ Appellant(s)            ________ Intervenor(s)


________ Respondent(s)              ✔
                                 ________ Appellee(s)              ________ Amicus Curiae

Please list the name of the lead party being represented:
ATLAS DATA PRIVACY CORP, as assignee of individuals who are Covered Persons; JANE DOE 1, a law
enforcement officer; JANE DOE 2, a law enforcement officer; EDWIN MALDONADO, SCOTT MALONEY;
JUSTYNA MALONEY; PATRICK COLLIGAN; PETER ANDREYEV; and WILLIAM SULLIVAN
___________________________________________________________




ONLY COUNSEL WHO ARE MEMBERS OF THE BAR OF THE COURT OF APPEALS
FOR THE THIRD CIRCUIT AND WHO FILED AN APPEARANCE ARE PERMITTED TO
ARGUE BEFORE THE COURT. (BAR ADMISSION IS WAIVED FOR FEDERAL
ATTORNEYS.)
